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                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES -REOPENING/CLOSING

Case No. 2:21-cv-02993-FLA-RAO                                      Date May 27, 2021

Title: Jessie Rodriguez et al v. Engel and Volkers Americas, Inc.

Present: The Honorable Fernando L. Aenlle-Rocha, United States District Judge




                    V.R. Vallery                                          Not Present
                   Deputy Clerk                                    Court Reporter / Recorder


Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                Not Present                                       Not Present




Proceedings:        G In Court         ✘ In Chambers
                                       G                   G Counsel Notified

G Case previously closed in error. Make JS-5.

✘ Case should have been closed on entry dated April 28, 2021.
G                                                                          .

G Case settled but may be reopened if settlement is not consummated within                       days.
  Make JS-6.

✘ Other Make JS-6
G

G Entered                                     .




                                                                    Initials of Preparer       VRV




CV-74 (10/08)                          CIVIL MINUTES -REOPENING/CLOSING
